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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


                                             )             CHAPTER 7
IN RE:                                       )
                                             )             CASE NO. 21-54552-BEM
DAVID ESCOBEDO HIDALGO,                      )
                                             )
      Debtor.                                )
                                             )
                                             )
S. GREGORY HAYS, Chapter 7 Trustee for the )
Bankruptcy Estate of David Escobedo Hidalgo, )
                                             )
      Movant,                                )
                                             )
v.                                           )             CONTESTED MATTER
                                             )
FREEDOM MORTGAGE CORPORATION,                )
CALIBER HOME LOANS, INC.,                    )
JACKSON GLENN HOMEOWNERS                     )
ASSOCIATION, INC., BUTTS COUNTY              )
TAX COMMISSIONER, and DAVID                  )
ESCOBEDO HIDALGO,                            )
                                             )
      Respondents.                           )
                                             )


TRUSTEE’S MOTION FOR AN ORDER AUTHORIZING (A) THE SALE OF PROPERTY
OF THE BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
ENCUMBRANCES AND (B) DISBURSEMENT OF CERTAIN PROCEEDS AT CLOSING

         COMES NOW S. Gregory Hays, as Chapter 7 trustee for the bankruptcy estate (the

“Trustee”) of David Escobedo Hidalgo (“Debtor”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m),

and Fed. R. Bankr. P. 2002(a)(2), 6004(a), 6004(c), and 9014, by and through undersigned counsel,

and files Trustee’s Motion for an Order Authorizing (A) the Sale of Property of the Bankruptcy

Estate Free and Clear of Liens, Interests, and Encumbrances and (B) Disbursement of Certain

Proceeds at Closing (the “Sale Motion”). In support of the Sale Motion, Trustee respectfully
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shows:

                                    Venue and Jurisdiction

         1.   This Court has jurisdiction over this Sale Motion under 28 U.S.C. §§ 157 and 1334.

Venue of this case in this District is proper under 28 U.S.C. §§ 1408 and 1409. This Sale Motion

is a core proceeding under 28 U.S.C. § 157(b)(2).

                                          Background

                                    a. General Background

         2.   Debtor filed a voluntary petition for relief under Chapter 7 of Title 11 of the United

States Code on June 15, 2021 (the “Petition Date”), initiating Case No. 21-54552-BEM (the

“Bankruptcy Case” or “Case”).

         3.   Trustee was thereafter appointed to the Case as the interim Chapter 7 trustee under

11 U.S.C. § 701(a)(1).

         4.   At the conclusion of the meeting of creditors, Trustee became the permanent

Chapter 7 trustee under 11 U.S.C. § 702(d)

         5.   At the commencement of the Bankruptcy Case, the Debtor’s bankruptcy estate was

created under 11 U.S.C. § 541(a) (the “Bankruptcy Estate”), and the Bankruptcy Estate includes

all Debtor’s legal or equitable interests in property as of the commencement of the Bankruptcy

Case and any interest in property that the Bankruptcy Estate acquired after commencement of the

Bankruptcy Case. 11 U.S.C. § 541(a)(1) and (7).

         6.   Trustee is the sole representative of the Bankruptcy Estate. 11 U.S.C. § 323(a).

                                        b. The Property

         7.   On the Petition Date, Debtor solely owned that certain real property commonly

known as 114 Truman Court, Jackson, Georgia 30233-5044 (the “Property”).
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       8.       On his amended Schedule C: The Property You Claim as Exempt [Doc. No. 16,

page 2 of 4], Debtor scheduled a homestead exemption in his interest in the Property of $43,000.00

under O.C.G.A. § 44-13-100(a)(1) (the “Homestead Exemption”).

             c. Alleged Liens, Interests, and Encumbrances on or Against the Property

       9.       On his Schedule D: Creditors Who Have Claims Secured by Property [Doc. No. 1,

page 22 of 62], Debtor scheduled one claim on or against the Property in the amount $114,447.00

in favor of Freedom Mortgage Corporation (“Freedom”).

       10.      Trustee obtained a full title examination report for the Property, dated August 12,

2021 (the “Title Report”), which reflects a security deed (the “Caliber Deed”) recorded on

November 9, 2016, through which Debtor purportedly granted a security interest in the Property

in favor of Caliber Home Loans, Inc. (“Caliber”).

       11.      Upon information and belief, Freedom is the servicer of the debt secured by the

Caliber Deed, and on or about August 31, 2022, the Caliber Deed was assigned to Freedom.

       12.      The Title Report also reflects that the Property is subject to unpaid homeowner’s

association liens of the Jackson Glenn Homeowners Association, Inc. (the “HOA”).

       13.      With the exception of the Estate’s 2022 pro-ration of ad valorem real property taxes

owed to the Butts County Tax Commissioner (“Butts County”), the Title Report reflects no other

liens, interests, or encumbrances on or against the Property.

            d. The Caliber Deed Security Interest is the Subject of a Bona Fide Dispute

       14.      On September 14, 2021, Trustee filed a Complaint [Doc. No. 17; A.P. Doc. No. 1]

against Caliber and Freedom, initiating Adversary Proceeding No. 21-5098-BEM (the “Adversary

Proceeding”), seeking to (a) avoid Debtor’s transfer of a purported security interest in the Property

to Caliber under 11 U.S.C. § 544(a)(3); (b) recover the property interest transferred to Caliber
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through the avoided transfer, or its value, under 11 U.S.C. § 550; and (c) preserve the avoided

transfer for the benefit of the Bankruptcy Estate under O.C.G.A. § 551.

       15.     The Adversary Proceeding remains pending. See [Adv. Pro. No. 21-5098-BEM].

               Request for Authority to Sell Property of the Bankruptcy Estate
                  Free and Clear of all Liens, Interests, and Encumbrances
                           Pursuant to 11 U.S.C. §§ 363(b) and (f)

       16.     The Trustee filed his Application to Employ Real Estate Agent Under Listing

Agreement [Doc. No. 21] on July 19, 2022, and the Court entered an Order [Doc. No. 22] on July

25, 2022, approving the employment of Century 21 Crown Realty and Ceci Johnson (collectively,

the “Realtor”) as his listing agent for the Property at a listing price of $256,000.00 (the “Listing

Price”) and a six (6%) percent commission of the selling price.

       17.     Trustee entered into a Purchase and Sale Agreement for a sale of the Property to

Jeremy Davis (the “Purchaser”), “as is, where is,” for a sale price of $262,500.00 (the “Purchase

Price”), subject to Bankruptcy Court approval (the “Contract”). A true and correct copy of the

Contract, as amended, is attached hereto and incorporated herein by reference as Exhibit “A.”1

       18.     The Purchaser was procured through the efforts of Trustee and his Realtor, is a

bona fide purchaser, and is not an insider of Debtor, Trustee, or the Realtor. The Purchaser has

submitted an earnest money deposit in the amount of $2,600.00. Trustee is proposing to pay a

seller’s contribution of $6,500.00 at closing.

       19.     Trustee’s proposed Contract for a Purchase Price of $262,500.00 (a) is the highest

and best offer that Trustee has received; (b) exceeds the Listing Price by $6,500.00; (c) is subject

to no outstanding contingencies; and (d) represents an appropriate selling price for the Property.



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        Trustee and the Purchaser entered into an amendment to the Contract to, among other
things, remove the Purchaser’s wife as a purchaser from the original Contract. A copy of this
amendment follows the Contract at Exhibit “A.”
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       20.     Subject to Bankruptcy Court approval, the closing of the sale of the Property is

currently scheduled for October 26, 2022 (the “Closing”).

                                           Legal Analysis

                                       a. Sale Free and Clear

       21.     Regarding Trustee’s request to sell the Property, Section 363 of the Bankruptcy

Code authorizes a trustee “after notice and a hearing . . . [to] use, sell, or lease, other than in the

ordinary course of business, property of the estate . . . .” 11 U.S.C. § 363(b)(1). Section 105 of the

Bankruptcy Code grants this Court the authority to “issue any order, process, or judgment

necessary or appropriate to carry out the provisions of this title.” 11 U.S.C. § 105(a).

       22.     The standard to grant a sale of property outside of the ordinary course of business

is the sound business judgment of the trustee. In re Chateaugay, 973 F.2d 141 (2d Cir. 1992);

Stephens Indus. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); In re Abbotts Dairies of Penn.,

Inc., 788 F.2d 143 (3d Cir. 1986); Committee of Equity Security Holders v. Lionel Corp. (In re

Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983). In this regard, a trustee’s showing does not

need to be exhaustive; rather, a trustee is “simply required to justify the proposed disposition with

sound business reason.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984).

Here the proposed transaction will allow Trustee to liquidate the estate’s interest in the Property

and turn what was otherwise a no-asset case into a meaningful distribution to unsecured creditors,

so there is a sound business reason for the proposed transaction.

       23.     In turn, Section 363(f) of the Bankruptcy Code authorizes a trustee to sell property

under 11 U.S.C. § 363(b) free and clear of any interest in such property if, among other things, the

price at which the property is to be sold is greater than the aggregate of the liens on such property

or if the purported interest is the subject of a bona fide dispute. 11 U.S.C. § 363(f). Specifically,
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that Code Section provides:

        (f) The trustee may sell property under subsection (b) or (c) of this section free
        and clear of any interest in such property of an entity other than the estate, only if-

               (1)     applicable nonbankruptcy law permits sale of such property free
                       and clear of such interest;
               (2)     such entity consents;
               (3)     such interest is a lien and the price at which such property is to be
                       sold is greater than the aggregate value of all liens on such
                       property;
               (4)     such interest is in bona fide dispute; or
               (5)     such entity could be compelled, in a legal or equitable proceeding,
                       to accept a money satisfaction of such interest.
Id.

        24.    As set forth above and below, Trustee can, under 11 U.S.C. § 363(f), sell the

Property free and clear of all liens, claims, interests, and encumbrances with any lien (to the extent

valid, perfected, enforceable, and unavoidable) attaching to the proceeds of the sale with the same

priority and extent as they had in the Property.

        25.    As set out in the Title Report, Caliber/Freedom, Butts County, and the HOA have

the only liens on or against the Property, and, upon information and belief, the sum of those liens

is no more than $150,000.00. As a result, the proposed Purchase Price of $262,500.00 is

significantly greater than the amounts owed to Caliber/Freedom, Butts County, and the HOA,

satisfying 11 U.S.C. § 363(f)(3).

        26.    In addition, given the pending Adversary Proceeding, the security interest of

Caliber/Freedom in the Property is the subject of a bona fide dispute, satisfying 11 U.S.C. §

363(f)(4). As a result, Trustee can sell the Property free and clear of Freedom’s purported secured

interest.

        27.    The proposed sale of the Property is one not in the ordinary course of business, as

provided by 11 U.S.C. § 363(b). Any lien to the extent valid, perfected, enforceable, and
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unavoidable will attach to the proceeds of the sale as provided by 11 U.S.C. § 363(f).

                             b. Good Faith of Trustee and Purchaser

       28.     Moreover, 11 U.S.C. § 363(m) provides that the reversal or modification on appeal

of an authorization of a sale or lease of property does not affect the validity of the sale or lease

under such authorization to an entity that purchased or leased the property in good faith. See 11

U.S.C. § 363(m).

       29.     Although the Bankruptcy Code does not define good faith, courts have recognized

that the kind of misconduct that would destroy a good faith status involves fraud, collusion between

the purchaser and other offerors or the trustee, or an attempt to take grossly unfair advantage of

other offerors. See In re Abbott Dairies of Pa., Inc., 788 F.2d 143, 147 (3d Cir. 1986).

       30.     Trustee and Purchaser have proceeded in good faith, and the Purchaser is a bona

fide, good-faith purchaser and not an insider of Debtor, Trustee, or the Realtor. Consequently,

Trustee and the Purchaser are entitled to the protections of 11 U.S.C. § 363(m).

               Request for Authority to Disburse Certain Proceeds at Closing

       31.     Trustee requests authority to have all sale proceeds paid to him at Closing and for

authority to have paid at Closing: (a) all outstanding ad valorem real property taxes owed to Butts

County; (b) all outstanding HOA dues; (c) the Bankruptcy Estate’s pro-rata share of the 2022 ad

valorem county real property taxes owed to Butts County; (d) the Bankruptcy Estate’s pro-rata

share of 2022 assessment owed to the HOA; (e) real estate commission of six percent (6%) of the

Purchase Price in the amount of $15,750.00; (f) any capital gains or other taxes related to the sale

(none anticipated); (g) water and sewer liens (none anticipated); and (h) all other costs of sale, or

costs necessary to close a sale of the Property.

       32.     Trustee further requests authority to have paid at Closing Debtor’s Homestead
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Exemption to Debtor in the amount of $43,000.00.

       33.     All other distributions will be made only upon further order of the Court.

       34.     To the extent funds are disbursed at Closing by a party other than Trustee, Trustee

requests that such party be treated as Trustee’s designated and authorized agent.

       35.     Based on the above proposed distributions, Trustee estimates that the proposed sale

will result in approximately $80,000.00 coming into the Bankruptcy Estate (and create the

possibility of another approximately $115,000.00 coming into the Bankruptcy Estate once the

Adversary Proceeding is resolved), all of which will be available to distribute in accordance with

11 U.S.C. § 726. In other words, upon information and belief, the proposed sale of the Property

to Purchaser will allow Trustee to make a meaningful distribution to holders of unsecured claims

against the Bankruptcy Estate.

                                     Other Relief Requested

       36.     In addition, Trustee requests that the Court waive the stay of the order approving

the proposed sale as authorized under Rule 6004(h) of the Federal Rules of Bankruptcy Procedure.

       37.     Finally, following notice to all creditors and parties in interest of the Sale Motion,

the date of the Hearing, Trustee invites any and all parties wishing to submit a competing cash bid

which exceed the present Contract by at least $10,000.00, supported by earnest money of at two

percent (2%) of the bid price, with no contingencies, and the ability to close within ten (10) days

from Bankruptcy Court approval.

       WHEREFORE, Trustee respectfully requests that the Court enter an Order:

       (a)     Granting the Sale Motion;

       (b)     Authorizing and approving the Contract and the sale of the Property free and clear

               of all liens, claims, interests, and encumbrances;
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       (c)    Authorizing the distribution of certain proceeds at Closing, as set forth herein;

       (d)    Authorizing the proposed sale to be consummated immediately as allowed by

Federal Rules of Bankruptcy Procedure Rule 6004(h); and

       (e)    Granting such other and further relief as the Court deems just or appropriate.

       Respectfully submitted this 13th day of September, 2022.

                                             ROUNTREE LEITMAN KLEIN & GEER, LLC
                                             Attorneys for Trustee

                                             By: /s/ Michael J. Bargar
                                                Michael J. Bargar
Century Plaza I                                 Georgia Bar No. 645709
2987 Clairmont Road, Suite 350                  mbargar@rlkglaw.com
Atlanta, Georgia 30329
404-410-1220
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                              EXHIBIT “A” FOLLOWS
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                                                                                   B-SIGNED
                                                                    Aug 17, 2022




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                                                                                              August 17, 2022
                            Cecilia Johnson




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                                                                  Aug 19, 2022




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                                      CERTIFICATE SERVICE

       This is to certify that I, Michael J. Bargar, am over the age of 18 and that on this day I have
caused to be served a copy of the forgoing Trustee’s Motion for an Order Authorizing (A) the Sale of
Property of the Bankruptcy Estate Free and Clear of Liens, Interests, and Encumbrances and (B)
Disbursement of Certain Proceeds at Closing by depositing in the United States mail a copy of same
in a properly addressed envelope with adequate postage affixed thereon to assure delivery by first
class United States Mail to the following persons at the addresses stated:
Office of the United States Trustee                    Stanley C. Middleman, CEO
362 Richard B. Russell Bldg.                           Freedom Mortgage Corporation
75 Ted Turner Drive, SW                                951 Yamato Road, Suite 175
Atlanta, GA 30303                                      Boca Raton, FL 33431

Caliber Home Loans, Inc.                               Freedom Mortgage Corporation
c/o J. Kelsey Grodzicki                                c/o C T Corporation System
Winter Capriola Zenner, LLC                            289 South Culver Street
One Ameris Center, Suite 800                           Lawrenceville, GA 30046-4805
3490 Piedmont Road, NE
Atlanta, GA 30305                                      Nancy Washington
                                                       Tax Commissioner
Tania R. Tuttle                                        Butts County Georgia
McLain & Merritt, PC                                   625 West 3rd Street
11625 Rainwater Drive, Ste. 125                        Jackson, GA 30233
Alpharetta, GA 30009
                                                       Jeremy Davis, CEO
Sanjiv Das, CEO                                        Jackson Glenn Homeowner’s Association,
Caliber Home Loans, Inc.                               Inc.
1525 South Belt Line Road                              2180 West SR 434, Ste. 5000
Coppell, TX 75019                                      Longwood, FL 32779

Caliber Home Loans, Inc.                               Jackson Glenn Homeowner’s Association,
c/o C T Corporation System                             Inc.
289 S. Culver Street                                   c/o Sentry Management, Inc.
Lawrenceville, GA 30046-4805                           303 Corporate Center Dr., Ste. 300A
                                                       Stockbridge, GA 30281
Stanley C. Middleman, CEO
Freedom Mortgage Corporation                           Christopher Nogales
907 Pleasant Valley Avenue, Suite 3                    Nogales & Associates, LLC
Mount Laurel, NJ 08054                                 Bldg 3, Suite D
                                                       1805 Herrington Lane
                                                       Lawrenceville, GA 30043
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Lawrenceville, GA 30043                         One Federal Place
                                                1819 Fifth Avenue North
Michael Campbell                                Birmingham, AL 35203-2119
Attention: Denise Hammock
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5565 Glenridge Connector, Suite 350             Century 21 Crown Realty
Atlanta, GA 30342                               4080 Highway 42
                                                Locust Grove, GA 30248
Steven J. Flynn
Locke Lord LLP
Suite 1200
3333 Piedmont Road NE
Atlanta, GA 30305


       This 13th day of September, 2022.
                                                /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709
